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   Attorneys for Plaintiff,
11 David Meske
12
13                            UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15                                 WESTERN DIVISION
16
     David Meske,                            Case No.: 2:13-cv-05505-DMG-RZ
17
                      Plaintiff,             NOTICE OF SETTLEMENT
18
19         vs.
20
   Verizon Wireless; and DOES 1-10,
21 inclusive,
22
                  Defendants.
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     2:13-cv-05505-DMG-RZ                                      NOTICE OF SETTLEMENT
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 1                             NOTICE OF SETTLEMENT
 2
            NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
 3
 4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
 5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
 6
   Civ. P. 41(a) within 60 days.
 7
 8       The parties hereby further request that this honorable Court provide a period of
 9 60 days within which to complete the settlement and file a dismissal of the action.
10
11
12                                             By: /s/ Tammy Hussin
                                               Tammy Hussin, Esq.
13                                             Lemberg & Associates, LLC
14                                             Attorney for Plaintiff, David Meske
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     2:13-cv-05505-DMG-RZ                                             NOTICE OF SETTLEMENT
Case 2:13-cv-05505-DMG-RZ Document 6 Filed 08/20/13 Page 3 of 4 Page ID #:28



 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On August 20, 2013, I served a true copy of
 5 foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Verizon
 8 certify that on August 20, 2013, a copy of Wireless
   the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
            I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27          Executed on August 20, 2013.
28
                                                 3
     2:13-cv-05505-DMG-RZ                                               NOTICE OF SETTLEMENT
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 1
 2                                        By: /s/ Tammy Hussin
                                          Tammy Hussin, Esq.
 3                                        Lemberg & Associates, LLC
 4                                        Attorney for Plaintiff, David Meske

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     2:13-cv-05505-DMG-RZ                                       NOTICE OF SETTLEMENT
